

Matter of Lewis v Marx (2024 NY Slip Op 03753)





Matter of Lewis v Marx


2024 NY Slip Op 03753


Decided on July 10, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 10, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
LARA J. GENOVESI
LILLIAN WAN
CARL J. LANDICINO, JJ.


2024-02151

[*1]In the Matter of Jake Lewis, petitioner,
vPaul I. Marx, etc., respondent. 


Jake Lewis, Mount Vernon, NY, petitioner pro se.
Letitia James, Attorney General, New York, NY (James B. Cooney of counsel), for respondent.



DECISION &amp; JUDGMENT
Proceeding pursuant to CPLR article 78, inter alia, in effect, in the nature of prohibition to prohibit the respondent, Paul I. Marx, a Justice of the Supreme Court, Westchester County, from acting in excess of his authority in an action entitled Lewis v Friedman , pending in the Supreme Court, Westchester County, under Index No. 50294/23, and from enforcing an order dated November 21, 2023, issued in that action.
ADJUDGED that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
"Because of its extraordinary nature, prohibition is available only where there is a clear legal right, and then only when a court—in cases where judicial authority is challenged—acts or threatens to act either without jurisdiction or in excess of its authorized powers" (Matter of Holtzman v Goldman , 71 NY2d 564, 569; see Matter of Rush v Mordue , 68 NY2d 348, 352).  The petitioner has failed to demonstrate a clear legal right to the relief sought
The parties' remaining contentions either are without merit or need not be reached in light of our determination.
IANNACCI, J.P., GENOVESI, WAN and LANDICINO, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








